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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

 SENSORMATIC ELECTRONICS,              )
 LLC,                                  )
                                       )
                   Plaintiff,          )   C.A. No. 19-1543 (CFC) (SRF)
                                       )
       v.                              )
                                       )
 WYZE LABS, INC.,                      )
                                       )
                   Defendant.

    DEFENDANT’S OPENING BRIEF IN SUPPORT OF THEIR MOTION
        FOR JUDGMENT ON THE PLEADINGS FOR LACK OF
                PATENTABLE SUBJECT MATTER

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 I.     INTRODUCTION
        This action should be dismissed pursuant to Fed. R. Civ. P. 12(c) because

 the Asserted Patents claim patent-ineligible subject matter under 35 U.S.C. § 101.

 The patents are directed to the abstract ideas of wireless communication and

 remote surveillance, and the claims recite only generic computer parts for carrying

 out those abstract ideas. The Asserted Patents are therefore invalid under Alice

 Corp. Pty. Ltd. v. CLS Bank Int’l., 573 U.S. 208 (2014) (“Alice”) and its progeny.

 II.    NATURE AND STAGE OF THE PROCEEDINGS
        Plaintiff Sensormatic Electronics, LLC (“Plaintiff” or “Sensormatic”) filed

 this action on August 19, 2019, accusing WYZE LABS, INC. (“Defendant” or

 “WYZE”) of infringing U.S. Patent Nos. 7,954,129 (“’129 patent”), 7,730,534

 (“’534 patent”), 7,936,370 (“’370 patent”), 8,208,019 (“’019 patent”), 8,610,772

 (“’772 patent”), 9,407,877 (“’877 patent”), and 10,198,923 (“’923 patent”)

 (collectively, the “Asserted Patents”).1 (D.I. 1 (“Complaint”), ¶¶ 6-13.) WYZE

 filed an Answer on November 8, 2019. (D.I. 9.) WYZE moves for judgment on

 the pleadings under Fed. R. Civ. P. 12(c) for failure to claim patentable subject

 matter.

 III.   SUMMARY OF THE ARGUMENT
        1.    The claims of the Asserted Patents are directed to the abstract ideas of

 wireless communication and remote surveillance. The claims fail to recite any
 1
        The Asserted Patents are attached to the Complaint as Exhibits A-G.

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 improvement to computer technology, instead reciting only generic computer

 components such as “input capture devices,” “digital input recorders,” and “remote

 server computers” for practicing the abstract ideas.

       2.     Under a long line of precedent, such claims are invalid under § 101.

 See, e.g., Chamberlain Grp. v. Techtronic Indus. Co., 935 F.3d 1341, 1347 (Fed.

 Cir. 2019) (invalidating claims because “the broad concept of communicating

 information wirelessly, without more, is an abstract idea” and further finding no

 inventive concept in the claims sufficient to render them non-abstract); see also

 Joao Control & Monitoring Sys., LLC v. Digital Playground, Inc., 2016 WL

 5793745, at *5 (S.D.N.Y. Sept. 30, 2016) (invalidating claims directed to “the

 abstract idea of remote surveillance or monitoring for security or control

 purposes”); Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1351 (Fed. Cir.

 2016) (invalidating “lengthy and numerous” claims directed to “monitoring of an

 electric power grid by collecting data from multiple data sources, analyzing the

 data, and displaying the results”). Indeed, all seven specifications make clear that

 the purported invention merely takes the “wired” prior art video surveillance

 systems and makes them “wireless”—an abstract idea under Chamberlain. (See,

 e.g., ’129 patent, 1:31-33 (“While video surveillance systems have existed in the

 prior art, typically they are wired devices that are difficult, time-consuming, and

 costly to install and operate.”).)



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 IV.   STATEMENT OF FACTS
       The seven Asserted Patents are closely related, share a substantially similar

 specification, list the same sole inventor, and collectively claim an earliest priority

 date of September 24, 2004. The below schematic reflects the relationships among

 the Asserted Patents, which are all directed to the same general invention2:




       Additionally, each Asserted Patent is either (1) terminally disclaimed over

 2
       “CIP” indicates a patent resulting from one or more “continuation-in-part”
 application(s), and “CON” indicates a patent resulting from a “continuation”
 application.

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 another Asserted Patent or (2) a patent over which another Asserted Patent is

 terminally disclaimed.3 Indivior Inc. v. Dr. Reddy’s Labs., S.A., 752 F. App’x

 1024, 1034 (Fed. Cir. 2018) (holding that “a terminal disclaimer is a strong clue

 that a patent examiner and, by concession, the applicant, thought the claims in the

 continuation lacked a patentable distinction over the parent”) (citation omitted).

       The Asserted Patents relate generally to “secure surveillance system[s]

 having wireless communication for monitoring a target environment,” and methods

 of providing those systems. (’370 patent, Abstract; ’772 patent, Abstract; ’887

 patent, Abstract; ’923 patent, Abstract; see also ’129 patent, 5:34-35, 14:16-17,

 16:23-25 (claim 1); ’534 patent, 15:34-35.) All seven specifications explain that

 “[w]hile video surveillance systems have existed in the prior art, typically they are

 wired devices that are difficult, time-consuming, and costly to install and operate.”

 (’129 patent, 1:31-33; ’534 patent, 1:60-62; ’370 patent, 1:33-35; ’019 patent,

 1:29-31; ’772 patent, 1:56-58; ’877 patent, 1:22-24; ’923 patent, 1:26-28.)

       Independent claim 14 of the ’129 patent (“the ’129 Claim 14”) is

 representative of the claims of the Asserted Patents, and recites the following:

       14. A surveillance system for wireless communication between
       components comprising:

 3
        According to the prosecution histories of the Asserted Patents, the ’129
 patent is terminally disclaimed over the ’534 patent; the ’534 patent is terminally
 disclaimed over the ’129 patent, the ’019 patent, and the ’370 patent; the ’877
 patent is terminally disclaimed over the ’772 patent; and the ’923 patent is
 terminally disclaimed over the ’877 patent and the ’772 patent.

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        a base system including at least two wireless input capture devices
        (ICDs), the ICDs having at least one sensor and at least one input
        component for detecting and recording inputs, a processor, a
        memory, a transmitter/receiver, all constructed and configured in
        electronic connection;

        wherein the ICDs are operable for direct wireless cross-
        communication with each other without requiring interaction with
        a remote server computer for operation; and

        wherein the ICDs are operable for direct wireless communication
        with a remote viewing device operable by an authorized user.

  (’129 patent, 17:16-28 (claim 14); see also Complaint, ¶ 23.) Content Extraction

  & Transmission LLC v. Wells Fargo Bank, N.A., 776 F.3d 1343, 1348 (Fed. Cir.

  2014) (finding analysis of a “representative claim” sufficient when, as here, the

  claims are substantially similar and linked to the same abstract idea); In-Depth

  Test, LLC v. Maxim Integrated Prods., Inc., 2018 WL 6617142, at *2 & n.3 (D.

  Del. Dec. 18, 2018) (Connolly, J.) (granting motion for judgment on the pleadings

  under § 101 after treating one claim as “representative” of all asserted claims).

        The ’129 Claim 14 can be boiled down to a surveillance system with (i)

  wireless devices for capturing inputs and (ii) a remote server, where the wireless

  devices can communicate (iii) directly with each other and (iv) with a remote

  viewing device operated by an authorized user.          In essence, those elements

  represent the abstract ideas of (1) wireless communication (whether direct or

  indirect) and (2) remote surveillance for security purposes.



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        Although the ’129 Claim 14 uses technical-sounding jargon like “input

  capture devices,” “sensor,” “processor,” “transmitter/receiver,” and “remote server

  computer,” the basic concept is exceedingly straightforward. The “input capture

  device (ICD)” merely “sens[es], captur[es], and transmit[s] surveillance inputs”—

  which are among the most rudimentary computer functions. (See ’129 patent,

  6:58-61.) The specifications confirm that ICDs are pre-existing, commercially-

  available technologies.   (Id. at 9:7-14 (“Preferred embodiments of a system

  according to the present invention includes video technology commercially

  provided by PIXIM, and set forth under [PIXIM patents].”).) Nor does the ’129

  patent claim to have invented any other element recited in Claim 14. (See, e.g., id.

  at 13:50-55 (“[T]he RSC [remote server computer] is thus any Internet connectable

  device, including computer, PDA, cell phone, watch, any network accessible

  device, and the like, which provides access for at least one remote user.”).)

  Instead, the ’129 Claim 14 simply invokes generic computer technologies to carry

  out the underlying abstract ideas of wireless communication and remote

  surveillance.

        The remaining claims of the Asserted Patents provide more details, but do

  not change the basic concepts. For example, the claimed “digital input recorder




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  (DIR)”4 performs the conventional computer functions of “receiving, storing,

  editing, and/or retrieving stored input” from the ICD (see, e.g., ’129 patent, 5:15-

  17), and is an off-the-shelf “appliance” (see, e.g., id. at 10:45) such as a “DVR

  [digital video recorder]” (see, e.g., id. at 10:42-43). Further, the claimed “digital

  video management and/or recording device (DVM)” (’534 patent, claim 1) is a

  non-descript element that is “configured and operable in wireless communication

  with the ICDs” (id. at 3:43-45) and “can store the data received from the ICD,

  report on the data, and take further actions on that data” (id. at 3:17-20). Plaintiff

  thus cannot point to any remotely non-conventional application of the DIR or

  DVM in the Asserted Patents’ specifications.

        Still other claims recite additional limitations such as “dual encoding,”5

  “remote viewing device,”6 “single click-select,”7 “image tagging or flagging based

  upon the occurrence of a trigger event,”8 “changing the priority settings,”9

  “automatic locking,”10 and “external removable data storage device.”11 However,


  4
         ’129 patent, claims 1, 6, and 9; ’370 patent, claim 1; ’019 patent, claims 1, 2,
  and 7; ’772 patent, claims 1 and 16; ’877 patent, claims 1 and 16; ’923 patent,
  claims 1, 16, 23, 24, and 25.
  5
         ’370 patent, claim 1.
  6
         ’129 patent, claims 1, 6, 8, 14, 20, 21, 22; ’370 patent, claims 1, 13; ’923
  patent, claims 20, 23, 25; see also ’772 patent, claim 2.
  7
         ’772 patent, claims 1-9, 14-17; ’877 patent, claim 1-10, 12-13, 16-17; ’923
  patent, claims 1, 2, 7, 9, 10, 11, 16.
  8
         ’019 patent, claims 1, 2, 7.
  9
         ’772 patent, claim 2; ’877 patent, claim 2; ’923 patent, claim 2.
  10
         ’772 patent, claim 6; ’877 patent, claim 7; ’923 patent, claim 9.

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  as explained below, each of these additional limitations is either directed to an

  abstract idea or was well-known, routine, and conventional in the art as of the

  earliest priority date of the Asserted Patents, and thus cannot confer patent

  eligibility. See, e.g., Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 714 (Fed. Cir.

  2014) (finding that claims adding particularity do not alter the “heart” of the

  claims).

  V.    LEGAL STANDARD
         “After the pleadings are closed—but early enough not to delay trial—a

  party may move for judgment on the pleadings.” Fed. R. Civ. P. 12(c). “When

  evaluating a motion for judgment on the pleadings, the court must accept all

  factual allegations in a complaint as true and view them in the light most

  favorable to the non-moving party.” VideoShare, LLC v. Google, Inc., 2016 WL

  4137524, at *2 (D. Del. Aug. 2, 2016) (citing Rosenau v. Unifund Corp., 539 F.3d

  218, 221 (3d Cir. 2008)). Judgment on the pleadings is appropriate where “the

  movant clearly establishes that no material issue of fact remains to be resolved

  and that he is entitled to judgment as a matter of law.” Rosenau, 539 F.3d at 221.

  In ruling on a Rule 12(c) motion, courts may consider the “pleadings and exhibits

  thereto, and documents incorporated by reference.” VideoShare, 2016 WL

  4137524, at *2 (citation omitted).


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        ’019 patent, claims 1, 2, 3, 7, 8, 9.

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        Patent eligibility under 35 U.S.C. § 101 is a “threshold” issue of law. Bilski

  v. Kappos, 561 U.S. 593, 602 (2010); TTP Tech LLC v. Zebra Techs. Corp., 2019

  WL 3935179, at *2 (D. Del. Aug. 20, 2019), appeal filed, No.19-2327 (Fed. Cir.

  Aug. 28, 2019). Courts may properly decide this threshold issue by way of a

  motion for judgment on the pleadings. See, e.g., buySAFE, Inc. v. Google, Inc.,

  765 F.3d 1350, 1352, 1354-55 (Fed. Cir. 2014) (affirming a Rule 12(c) judgment

  on the pleadings); In-Depth Test, 2018 WL 6617142, at *1, *4-7 (granting motion

  for judgment on the pleadings finding patent ineligibility).

        The Supreme Court in Alice set forth the now-familiar two-step test “for

  distinguishing patents that claim laws of nature, natural phenomena, and abstract

  ideas from those that claim patent-eligible applications of those concepts.” Alice,

  573 U.S. at 217. First, the Court must determine if the claims at issue are directed

  to a patent-ineligible concept, such as an abstract idea. Id. If the Court determines

  that the claims are directed to an abstract idea, it must then “determine whether the

  additional elements transform the nature of the claim into a patent-eligible

  application.” Id. (internal quotations and citation omitted). This second step is “a

  search for an inventive concept—i.e., an element or combination of elements that

  is sufficient to ensure that the patent in practice amounts to significantly more than

  a patent upon the ineligible concept itself.” Id. at 217-18 (internal quotations and

  citation omitted).    A claim reciting merely “well-understood, routine [and]



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  conventional activities previously known to the industry” cannot provide an

  inventive concept. Id. at 2359 (internal quotations and citation omitted).

  VI.   ARGUMENT
        Here, the claims of the Asserted Patents fail both steps of Alice because they

  are directed to abstract ideas and recite no inventive concept. The claims are thus

  invalid for lack of patent-eligible subject matter.

        Notably, five of the seven Asserted Patents issued before Alice,12 and the

  U.S. Patent and Trademark Office (“USPTO”) therefore did not have the benefit of

  the Supreme Court’s two-step test for determining patent eligibility with respect to

  those patents. See, e.g., WhitServe LLC v. Donuts Inc., 390 F. Supp. 3d 571, 581

  (D. Del. July 8, 2019) (Connolly, J.) (noting that “the USPTO proceedings . . .

  occurred before the Supreme Court’s decision in Alice and, therefore, were not

  based on the correct legal standard”); see also Inventor Holdings, LLC v. Gameloft,

  Inc., 135 F. Supp. 3d 239, 252 (D. Del. 2015) (same).

        A.     Alice Step One: The Asserted Patents are Directed to Abstract
               Ideas
        At their core, the claims of the Asserted Patents are directed to the patent-

  ineligible abstract ideas of (1) wireless communication (whether direct or indirect)

  and (2) remote surveillance.


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         The five pre-Alice patents are the ’129 patent, the ’534 patent, the ’370
  patent, the ’019 patent, and the ’772 patent.

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        First, the Federal Circuit recently held that “the broad concept of

  communicating information wirelessly, without more, is an abstract idea.”

  Chamberlain, 935 F.3d at 1347. The claims in Chamberlain recited a system

  comprising a “wireless status condition data transmitter.”       See id. at 1345.

  Similarly here, ’129 Claim 14 broadly recites a system for “wireless

  communication between components” without any restrictions on how that

  wireless communication is accomplished. (See, e.g., ’129 patent, claim 14.) All

  seven specifications make clear that the purported invention merely takes the

  “wired” prior art systems and makes them “wireless”—an abstract idea under

  Chamberlain. (See, e.g., ’129 patent, 1:31-33 (“While video surveillance systems

  have existed in the prior art, typically they are wired devices that are difficult,

  time-consuming, and costly to install and operate.”).)

        The specifications further confirm that the claimed wireless communication

  does not improve computer functionality, but instead relies on well-known network

  protocols. (See, e.g., ’534 patent, 3:14-17 (“The ICD transmits the data wirelessly

  (using network protocols such as 802.11, cellphone protocols such as CDMA or

  GSM, or any other wireless protocol such as Zigbee, Bluetooth, or other)”).) Such

  claims fail Alice step 1. See Chamberlain, 935 F.3d at 1347; see also Affinity Labs

  of Tex. v. DirectTV, LLC, 838 F.3d 1253, 1258 (Fed. Cir. 2016) (invalidating

  claims reciting the function of “wirelessly communicating regional broadcast



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  content to an out-of-region recipient” as directed to an abstract idea).

        Wireless communication is an abstract idea whether it is direct (i.e., from

  device-to-device) or indirect (i.e., through a server). See Chamberlain, 935 F.3d at

  1349 (invalidating claims using an “integrated controller [i.e., server] and wireless

  transmitter to transmit status information”). The claims reciting “direct wireless

  cross-communication” (or the like) are thus drawn to only a subset of wireless

  communication and are likewise abstract. (See, e.g., ’129 patent, claims 8, 14, 15;

  see also ’534 patent, claim 1; ’370 patent, claims 1, 7; ’019 patent, claims 1, 2, 7;

  ’772 patent, claims 1, 16; ’877 patent, claim 16; ’923 patent, claim 16.) In fact, the

  concept of communicating directly between devices or individuals is far more

  basic than communicating indirectly through a server or intermediary, which

  requires an extra step.

        Second, the concept of “remote surveillance or monitoring for security or

  control purposes” is also abstract. Digital Playground, 2016 WL 5793745, at *5;

  see also Elec. Power Grp., 830 F.3d at 1351; Callwave Commc’ns, LLC v. AT&T

  Mobility, LLC, 207 F. Supp. 3d 405, 414-15 (D. Del. 2016) (finding claims

  directed to “remote tracking” invalid under § 101). The stated purpose of the

  asserted claims is to “provid[e] a secure surveillance system for a target

  environment,” and the claims expressly recite “surveillance system[s].” (See, e.g.,

  ’129 patent, 5:34-35, 14:16-17, 16:23-24 (claim 1); see also, e.g., ’129 Claim 14.)



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  But “[t]he general concept of keeping watch over property is timeless. As early as

  31 BC, for example, the Romans monitored and secured their empire through

  numerous watchtowers, which could communicate through a signaling system.”

  Joao Control & Monitoring Sys., LLC v. Telular Corp., 173 F. Supp. 3d 717, 727

  (N.D. Ill. 2016); see also Wireless Media Innovations, LLC v. Maher Terminals,

  LLC, 100 F. Supp. 3d 405, 413 (D.N.J. 2015) (invalidating patents directed to the

  “abstract idea [of] monitoring locations, movements, and load status of shipping

  containers within a container-receiving yard, and storing, reporting, and

  communicating this information in various forms through generic computer

  functions”), aff’d, 636 F. App’x 1014 (Fed. Cir. 2016). The claims are thus drawn

  to a “longstanding [] human activity” that falls “squarely within the realm of

  abstract ideas.” Alice, 573 U.S. at 220-21 (internal quotations omitted); see also

  FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089, 1094-95 (Fed. Cir. 2016)

  (finding claims “directed to collecting and analyzing information to detect misuse

  and notifying a user when misuse is detected” were drawn to patent-ineligible

  abstract ideas).

        Here, “there is nothing in the claims themselves that foreclose them from

  being performed by a human, mentally or with pen and paper.”            See, e.g.,

  Intellectual Ventures I LLC v. Symantec Corp., 838 F.3d 1307, 1318-22 (Fed. Cir.

  2016). The ’129 Claim 14 recites that “the ICDs are operable for direct wireless



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  cross-communication with each other without requiring interaction with a remote

  server computer for operation.” (’129 patent, 17:23-25.) This is no different than

  the offline human activity of bypassing an intermediary to communicate

  information directly to the intended recipient. For example, Neighbor A (i.e.,

  “ICD” A) can send a letter to Neighbor B (i.e., “ICD” B) by either (1) using a

  mailman (i.e., “remote server computer”) or (2) walking across the street and

  placing the letter in Neighbor B’s mailbox.         The latter scenario satisfies the

  claimed “cross-communication” limitation without the use of any computer

  technology. Further, the “surveillance system” limitation recited in the ’129 Claim

  14 is easily satisfied when the letter pertains to Neighbor A’s observations

  regarding suspicious activities in the neighborhood.       The claims here can be

  performed by a human being using pen and paper, and thus are decidedly abstract.

  Intellectual Ventures I LLC, 838 F.3d at 1318-22.

        The remaining claims of the Asserted Patents either do nothing to alter the

  underlying abstract ideas of wireless communication and remote surveillance, or

  constitute abstract ideas themselves.13 For example, “dual encoding of system



  13
         The combination of two or more abstract ideas does not somehow convert
  the claimed subject matter into something non-abstract. Digital Playground, 2016
  WL 5793745, at *5 (“Simply combining these abstract ideas does not create a non-
  abstract idea.”); see also Morsa v. Facebook, Inc., 77 F. Supp. 3d 1007, 1014 (C.D.
  Cal. 2014) (finding claims invalid under § 101 when directed to “two abstract
  ideas”), aff’d, 622 F. App’x 915 (Fed. Cir. 2015).

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  inputs”14 is drawn to the abstract idea of translating information between different

  formats. The specification explains that the “dual encoding software run[s] on an

  embedded DSP chip or a computer” and “encodes inputs captured by the ICD(s) in

  multiple formats simultaneously.” (’370 patent, 15:41-44; see also id. at 15:44-49

  (providing an example of “dual encoding” where “a video stream is converted into

  encoded video and a series of still images”).) But district courts have consistently

  found the mere concept of “translating” to be an abstract idea. See, e.g., Novo

  Transforma Techs., LLC v. Sprint Spectrum L.P., 2015 WL 5156526, at *2-3 (D.

  Del. Sept. 2, 2015) (holding claims that translated between different computer

  formats for electronic delivery of messages were directed to the abstract idea of

  translation); Messaging Gateway Sols., LLC v. Amdocs, Inc., No. 14-732-RGA,

  2015 WL 1744343, at *4 (D. Del. Apr. 15, 2015) (holding claims that translated

  messages between SMS text message format and Internet Protocol format were

  directed to the abstract idea of translation).

        The limitation reciting “image tagging or flagging based upon the

  occurrence of a trigger event”15 is likewise ineligible, amounting to no more than

  the abstract idea of “classifying and storing digital images in an organized

  manner.” See, e.g., In re TLI Commc’ns LLC Patent Litig., 823 F.3d 607, 612-13

  (Fed. Cir. 2016); see also BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281,

  14
        ’370 patent, claim 1.
  15
        ’019 patent, claims 1, 2, 7.

                                             15
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  1286-91 (Fed. Cir. 2018) (invalidating claims directed to indexing and classifying

  items in a database). The specification states that a “trigger event” can “mark the

  start of a subset of the input captured by the ICDs and/or stored by the DIR for

  facilitating analysis and review at a later time.” (’019 patent, 15:53-62.) This

  activity can easily be performed offline—for example, by a certain event

  prompting a security guard to record the timing and details of that event in a log

  book. See also Accenture Global Servs., GmbH v. Guidewire Software, Inc., 728

  F.3d 1336, 1344 (Fed. Cir. 2013) (finding claims that “generate[d] tasks [based on]

  rules . . . to be completed upon the occurrence of an event” were abstract ideas).

  The limitation regarding “changing the priority settings”16 is also directed to the

  undeniably abstract ideas of organizing, classifying, and storing information. See

  In re TLI, 823 F.3d at 612-13; see also Tagi Ventures, LLC v. Nascar Digital

  Media, LLC, 2017 WL 3469527, at *5-6 (N.D. Ga. Feb. 17, 2017) (invalidating

  claims directed to “assigning priority values” to media signals).

        Crucially, the Asserted Patents do not describe any technological

  improvement to computers or security systems. Instead, the claims are replete with

  broad, results-oriented language for carrying out the abstract ideas (emphases

  added to all):

             “thereby providing a secure surveillance system for a target


  16
        ’772 patent, claim 2; ’877 patent, claim 2; ’923 patent, claim 2.

                                           16
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                environment”17
               “thereby providing a method for secure communication in the
                surveillance system”18
               “constructed and configured for wireless digital direct
                communication”19
               “operable for transmitting instructions to and receiving and
                recording data inputs”20
               “operable for direct wireless communication”21
               “operable for capturing data input from activities within a
                target environment”22
               “operable to collect and analyze the data”23
               “operable for direct cross-communication”24
               “operable to encode inputs in two formats simultaneously”25

        This exemplary, non-exhaustive list of conclusory functional language

  reinforces the abstract nature of the claims. See, e.g., Two-Way Media, Ltd. v.

  Comcast Cable Commc’ns, LLC, 874 F.3d 1329, 1337-38 (Fed. Cir. 2017); see

  also In-Depth Test, 2018 WL 6617142, at *6 (finding that the patent is not directed

  to improvements in computer functionality when it “simply claims a conventional

  computer that . . . is ‘configured’” to perform certain functions).


  17
         ’129 patent, claim 1; ’370 patent, claim 1.
  18
         ’019 patent, claim 2.
  19
         ’129 patent, claims 1, 6; see also id. at claim 14; see also ’370 patent, claim
  7; see also id. at ’019 patent, claims 2, 7.
  20
         ’129 patent, claims 1, 6; ’019 patent, claim 2.
  21
         ’129 patent, claims 9, 14.
  22
         ’534 patent, claim 1.
  23
         ’534 patent, claim 4.
  24
         ’370 patent, claim 1; ’772 patent, claim 16; ’877 patent, claim 16.
  25
         ’370 patent, claim 7.

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         Accordingly, the Asserted Patents are directed to ineligible abstract ideas

  under Alice step 1.

         B.     Alice Step Two: The Claims of the Asserted Patents Recite No
                Inventive Concept
         The Asserted Patents also fail Alice step 2 because the claims—whether

  considered alone or in combination—merely invoke “well-understood, routine

  [and] conventional” technology to carry out the abstract ideas. See Alice, 573 U.S.

  at 225 (citation omitted). Recently, the Federal Circuit in BSG Tech. clarified that

  when searching for the “inventive concept” at step 2 of Alice, the focus must turn

  to “whether the claim limitations other than the invention’s use of the ineligible

  concept to which it was directed were well-understood, routine, and conventional.”

  889 F.3d at 1290 (emphasis added). When properly excluding the underlying

  abstract ideas of wireless communication and remote surveillance from the claim

  language, all that remains are generic computer technologies that cannot confer

  patent eligibility.

         As noted, the claimed “ICD,” “RSC,” “DIR,” and “DVM” are all off-the-

  shelf, pre-existing computer components that Sensormatic does not claim to have

  invented. (’129 patent, 9:7-14, 13:50-55, 5:15-17, 10:42-43; ’534 patent, 3:17-20,

  3:43-45; see also id. at 5:15-18 (explaining that the data tracked by the system “is

  then displayed in user friendly reports or can be exported into a common data

  format for use by other analytical tools including but not limited to ‘standard’


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  commercial grade software, such as Microsoft Excel”).              Importantly, the

  specifications confirm that the alleged invention simply invokes existing “wired”

  video surveillance systems to implement the abstract idea of making these systems

  “wireless.” (See, e.g., ’129 patent, 1:31-33.)

        Additionally, the claimed “single click-select”26 functionality is one of the

  most notoriously well-known operations of a graphical user interface (“GUI”).

  Anyone who has used a computer is familiar with the basic ability to “select” an

  item on the GUI by clicking the mouse or other user input device.                The

  specifications do not describe any specialized hardware or software required to

  implement the “single click-select” feature. (’534 patent, 5:9-10 (“With point and

  click ease the system can be setup to track people entering and leaving through a

  door.”); ’129 patent, 10:60-67 (“[T]he preferred embodiments of the present

  invention provide for one click activation for receiving and recording inputs to the

  at least one wireless ICD. . .”).) The fact that the claims require only a “single”

  click, as opposed to multiple clicks, does not change the conventional nature of this

  feature. See, e.g., Trading Techs., Int’l v. IBG LLC, 921 F.3d 1084, 1090-91,

  1094-95 (Fed. Cir. 2019) (invalidating claims reciting “selecting” an item “through

  a single action of the user input device”).

        The remaining claimed elements are likewise routine and conventional

  26
         ’772 patent, claims 1-9, 14-17; ’877 patent, claim 1-10, 12-13, 16-17; ’923
  patent, claims 1, 2, 7, 9, 10, 11, 16.

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  technologies that cannot transform the underlying abstract ideas. The fact that a

  “remote viewing device”27 is “operable by an authorized user”28 does not provide

  anything inventive. (’129 patent, 15:16-24 (“[T]he remote ICD reviewing [sic]

  device preferably being an Internet connectable personal computer or personal

  digital assistant, a cell phone with Internet connection capabilities.   The user

  provides a login from the remote viewing device to the RSC, the login including

  authorization and authentication steps, such as providing a username and

  password, for ensuring that only authorized user(s) accesses the secure system.”).)

  See also Williamson v. Citrix Online, LLC, 212 F. Supp. 3d 887, 906 (C.D. Cal.

  2016) (describing the use of a username to authenticate a user as “conventional”),

  aff’d, 683 F. App’x 956 (Fed. Cir. 2017). The “automatic locking”29 and “external

  removable    storage   device”30   limitations   similarly   employ    well-known

  technologies, as confirmed by the specifications. (’129 patent, 15:1-8 (describing

  “[c]amera locking/[s]ecurity establishment” as including “cryptographic methods

  such as digital signing, stream cipher encryption, block cipher encryption, and

  public key encryption or hardware based encryption” such as “WAP. 802.11i,

  AES, SSL, stream cipher, Trojan, DES, any other type of security protocol, and


  27
         ’129 patent, claims 1, 6, 8, 14, 20, 21, 22; ’370 patent, claims 1, 13; ’772
  patent, claim 2; ’923 patent, claims 20, 23, 25.
  28
         ’129 patent, claim 14.
  29
         ’772 patent, claim 6; ’877 patent, claim 7; ’923 patent, claim 9.
  30
         ’019 patent, claims 1, 2, 3, 7, 8, 9.

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  combinations thereof”); ’019 patent, 15:46-52 (“[P]referably, the external

  removable data storage device is portable, such as a USB key or other portable

  removable data storage medium to permit a variety of data management functions .

  . . .”).)

          Finally, nothing about the “ordered combination” of claim elements

  “transform[s]” the nature of the claims into a patent-eligible invention. Alice, 573

  U.S. at 217. The sequence in the claims merely recites the sequence one would

  expect to follow to implement the abstract ideas of wireless communication and

  remote surveillance in the “real world” without a computer. For example, method

  claim 1 of the ’129 patent starts with “providing the base system” with the “input”

  devices (i.e., the ICD and DIR), an unremarkable first step if one intends to

  monitor inputs captured by a surveillance system. The next step requires “an

  authorized user” to “log[] into the system,” followed by the user “accessing and

  controlling” the input devices. It is logical that, to access a surveillance system, a

  user would first be required to log into said system. In a practical sequence of

  events, it would follow that “inputs from the target environment are captured” by

  the input device to ultimately “provid[e] a secure surveillance system for a target

  environment.” Nothing in the order or arrangement of limitations in the claims,

  therefore, recites any inventive concept.

          In sum, the Asserted Patents fail Alice step 2 because the claimed elements,



                                              21
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  whether considered individually or as an ordered combination, constitute routine

  and conventional activities.


  VII. CONCLUSION

        Because all claims of the Asserted Patents are directed to patent-ineligible

  subject matter, WYZE respectfully requests that the Court grant its motion for

  judgment on the pleadings and dismiss Plaintiff’s Complaint with prejudice.

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                             CERTIFICATE OF SERVICE

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  electronically filed with the Clerk of the Court using CM/ECF, which will send

  notification of such filing to all registered participants.

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